254 F.2d 600
    Floyd C. EWING and Leah E. Ewing, Richard K. Ewing, C. C. Ewing and Mary F. Ewing, Stanley C. Ewing and Dolores J. Ewing, Petitioners,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    No. 13257.
    United States Court of Appeals Sixth Circuit.
    April 10, 1958.
    
      Petition to review decisions of the Tax Court.
      Ian Bruce Hart, Canton, Ohio, for petitioners.
      Charles K. Rice, James P. Turner, Nelson P. Rose, Ellis N. Slack, Rollin H. Transue, Lee A. Jackson, A. F. Prescott and Fred E. Youngman, Washington, D. C., for respondent.
      Before SIMONS, Chief Judge, and MARTIN and McALLISTER, Circuit Judges.
      PER CURIAM.
    
    
      1
      These consolidated causes came on to be heard on the record and on the briefs and oral arguments of attorneys for the contending parties;
    
    
      2
      And it appearing that the decisions of the Tax Court of the United States held the petitioners liable for income taxes for the taxable year 1951, plus lawful interest on account of their liability as transferees of the assets of Ewing Chevrolet, Inc., a dissolved corporation;
    
    
      3
      And it appearing from the Tax Court's findings of fact, supported by substantial evidence and not clearly erroneous, and its application to the facts found of the principle of Arrowsmith v. Commissioner of Internal Revenue, 344 U.S. 6, 73 S.Ct. 71, 97 L.Ed. 6, that the holding of the Tax Court is correct;
    
    
      4
      The decision in each of the four consolidated cases is affirmed for the reasons stated in the opinion of the Tax Court. 27 T.C. 406.
    
    